                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ILLINOIS

PNC BANK, NATIONAL ASSOCIATION,         )
Successor to NATIONAL CITY BANK, N.A.,  )
                                        )
         Plaintiff,                     )
                                        )
    v.                                  )                 Case No. 3:15-CV-00483
                                        )
HAVENHILLS INVESTMENT CO., LLC, et al., )
                                        )
         Defendants.                    )

                           CONSENT ORDER AND JUDGMENT

       By consent, judgment is hereby entered in favor of Defendant Shiloh RC, LLC (“Shiloh

RC”), and against Defendant McEagle Land Acquisition, LLC (“McEagle”), on Counts I and III

of Shiloh RC’s Counterclaims and Cross-Claims [Doc. 110] (“Shiloh RC’s Claims”).            By

consent, Counts II and IV of Shiloh RC’s Claims are dismissed without prejudice. All parties

consent to the entry of this Order and Judgment.

       The Court finds as follows:

       1.     Shiloh RC is the holder of a Promissory Note originally made by McEagle on or

about June 27, 2008, which was modified and amended eight times, the final such amendment

being that certain Eighth Extension and Modification Agreement dated September 13, 2013 (the

“Note”). The Note, which is evidence of the indebtedness, was filed with the Court as Exhibit A

to Shiloh RC’s Claims.

       2.     McEagle has defaulted on the Note. The amount due under the Note, as of

September 1, 2016, is $3,693,611.46, which comprises $3,121,150 in unpaid principal,

$322,713.91 in accrued unpaid interest, $93,690.05 in allowable fees, expenses and costs, and

$156,057.50 in authorized late payment charges.


                                          Page 1 of 11
       3.      The Note is secured by, among other things, a Mortgage (“the McEagle

Mortgage”) against that property commonly known as 1096 North Green Mount Road, Shiloh,

Illinois 62221 and North Green Mount Road, Shiloh, Illinois 62221, and having the legal

description set forth on Exhibit A attached hereto and incorporated by reference herein (the

“McEagle Property”). Evidence of the McEagle Mortgage was filed with Court as Exhibit D to

Shiloh RC’s Claims.

       4.      Shiloh RC is the holder of the McEagle Mortgage, which mortgage is a valid lien

against the McEagle Property, which is prior, paramount and superior to all other mortgages,

claims, or interests and liens upon the McEagle Property except for real estate taxes and special

assessments, if any. The rights and interests of all other parties in the McEagle Property are

subject, subordinate and inferior to the rights of Shiloh RC. McEagle, and all other parties, have

waived any right of redemption pursuant to the McEagle Mortgage.

       5.      The parties admit that the value of the McEagle Property is less than the current

amount due under the Note.

       Therefore, it is hereby ORDERED, ADJUDGED and DECREED:

       6.      Judgment is entered in favor of Shiloh RC and against McEagle on Count III of

Shiloh RC’s Claims, for money due and owing under that certain Promissory Note, in the

amount of $3,693,611.46, (the “Money Judgment”), which comprises $3,121,150 in principal,

$322,713.91 in accrued unpaid interest, $93,690.05 in allowable fees, expenses and costs, and

$156,057.50 in authorized late payment charges.

       7.      McEagle is ordered to pay Shiloh RC within the time allowed by law, the Money

Judgment with statutory interest.




                                          Page 2 of 11
       8.      Upon entry of the Money Judgment herein, the rights of Shiloh RC will be

secured by a lien upon the McEagle Property, which will have the same priority as the McEagle

Mortgage.

       9.      In default of such payment in accordance with the Money Judgment, the McEagle

Property, with all the improvements, fixtures, and appurtenances thereto, including, without

limitation, all rights and interests in the programs available in which McEagle has arranged to

support and enhance the development of the McEagle Property, or so much of the McEagle

Property which may be divisible and sold separately without material injury to the parties in

interest, will be sold at public auction to the highest bidder for cash as provided below to satisfy

the total amount due Shiloh RC as set forth in the Money Judgment, together with interest at the

statutory judgment rate from the date of the Money Judgment and such additional costs and

expenses that Shiloh RC may incur under the McEagle Mortgage after the date of the Money

Judgment.

       10.     Pursuant to 735 ILCS 5/15-1506, judgment of foreclosure and sale is entered in

favor of Shiloh RC and against McEagle, Plaintiff and all other parties, on Count I of Shiloh

RC’s Claims, with respect to the McEagle Property (the “Foreclosure Judgment”), together with

interest at the contractual rate after the entry of the Foreclosure Judgment and sale and additional

court costs, expenses of sale and additional costs and expenses that Shiloh RC may incur as set

forth in the McEagle Mortgage, which shall be included in an additional judgment at such time

this Court enters an order confirming the foreclosure sale provided for in this Order and

Judgment, or the McEagle Property has been sold with Shiloh RC’s consent. Shiloh RC has a

lien of first priority against the McEagle Property, and Shiloh RC is entitled by this judgment to

foreclose on said lien and sell the McEagle Property as follows:


                                           Page 3 of 11
a.   The sheriff, or such other person as this Court may appoint, shall conduct
     a foreclosure sale of the McEagle Property with all improvements,
     fixtures, and appurtenances, including, without limitation, all rights and
     interests in the programs available in which McEagle has arranged to
     support and enhance the development of the McEagle Property, or so
     much of the McEagle Property which may be divisible and sold separately
     without material injury to the parties in interest. The person responsible
     for conducting the sale will, either itself or by designation of Shiloh RC to
     do so, give public notice of the time, place, and terms of such foreclosure
     sale by publishing same once each week for three consecutive calendar
     weeks (Sunday through Saturday). The first of such notice to be published
     not more than 45 days prior to the sale, and the last of such notice to be
     published not less than seven days prior to the sale.

b.   The notice will be by an advertisement in a newspaper circulated to the
     general public in the county in which the McEagle Property is located in
     the section where legal notices are commonly placed and by a separate
     advertisement which may be in the same newspaper, in the section where
     real estate, other than real estate being sold in a legal proceeding is
     commonly advertised to the public; provided that where the newspaper
     does not have separate legal and real estate sections, a single
     advertisement will be sufficient.

c.   The same may be adjourned at the discretion of the party conducting it,
     provided, however, that if the adjourned foreclosure sale date is to occur
     less than 30 days after the last scheduled foreclosure sale, notice need only
     be given once, not less than five days prior to the date of the adjourned
     foreclosure sale.

d.   Shiloh RC may purchase the McEagle Property, or any portion thereof, at
     such foreclosure sale, and may credit bid the amount of any indebtedness
     due under the Note and the McEagle Mortgage, together with costs,
     advances and attorneys’ fees (such sum being hereinafter referred to as the
     “Credit Bid”) at such sale. If Shiloh RC is the successful bidder at the
     sale, the amount of the Credit Bid shall be deducted from the total amount
     of the Money Judgment due to Shiloh RC hereunder. Nothing herein shall
     be deemed to release McEagle or any other parties liable under the Note,
     or any guarantors of the indebtedness evidenced by the Note, from liability
     for any monetary deficiency that remains due and owing to Shiloh RC
     after application of the Credit Bid.

e.   The person responsible for conducting the sale shall execute and deliver to
     any purchaser at said foreclosure sale a receipt of sale and a certificate of
     sale, with a duplicate of said certificate to be filed for record in the Office
     of the Recorder of Deeds of St. Clair County, Illinois.


                          Page 4 of 11
              f.     Upon confirmation of the foreclosure sale, the party conducting the sale
                     may issue a certificate of sale in recordable form describing the real estate
                     purchased and the amount paid for the real estate. This certificate shall be
                     freely assignable. After (i) the expiration of all the mortgagor's
                     reinstatement and redemption rights and rights to possession, if applicable,
                     (ii) confirmation of sale, and (iii) upon payment of the purchase price and
                     any other amounts required to be paid by the purchaser at the sale, the
                     party conducting the sale must, upon request of the holder of the
                     certificate of sale, or the purchaser, if certificate of sale was not issued,
                     execute and deliver to the holder or purchaser a deed sufficient to convey
                     title. The conveyance will be an entire bar to all claims of other parties to
                     the foreclosure and all persons claiming thereunder.

              g.     If the parties who will be in possession of the McEagle Property or any
                     part of the McEagle Property or any persons who may have come into
                     such possession under them, or any of them, since the commencement of
                     this suit, will, as of the date 30 days after the confirmation of the sale, do
                     not surrender possession of the McEagle Property to the purchaser,
                     purchaser’s representative or assigns, the order confirming the sale will so
                     provide for their surrender of the possession of the McEagle Property to
                     the purchaser. The order will also provide that the United States Marshall
                     Service or the Sheriff of St. Clair County may execute on the order and
                     evict any remaining occupants without further notices or order of court.

              h.     This Court retains authority during the entire pendency of the foreclosure
                     and until disposition of all matters arising out of the foreclosure.

              i.     The foreclosed property directed to be sold is particularly described in
                     Exhibit A attached.

              j.     In the event of such sale, all other parties, and all persons claiming by,
                     through, or under them, and each and any and all of them, will be forever
                     barred and foreclosed of any right, title, interest, claim, lien, or right to
                     redeem in and to the McEagle Property.

              k.     A deed will be issued to the purchaser at the sale according to law, and the
                     purchasers will be let into possession of the McEagle Property in
                     accordance with statutory provisions.

              l.     Shiloh RC shall be granted possession of the McEagle Property prior to its
                     sale.

       11.    Execution of the Foreclosure Judgment is stayed by consent for a period of 180

days from the date of this Order (or such longer period of time as McEagle and Shiloh RC may



                                         Page 5 of 11
hereafter agree in writing), contingent on the continued cooperation of McEagle with respect to

the listing, marketing and proposed sale of the McEagle Property.

       12.     It is therefore ordered, adjudged and decreed that a judgment for foreclosure and sale

is granted to Shiloh RC against Plaintiff and all Defendants.

       13.     It is further ordered that Counts II and IV of the Shiloh RC Claims are hereby

dismissed without prejudice.




IT IS SO ORDERED.

DATED: October 21, 2016


                                               DONALD G. WILKERSON
                                               United States Magistrate Judge




                                            Page 6 of 11
The undersigned consent to entry of the above consent judgment.

LATHROP & GAGE, LLP                             SPENCER FANE LLP

By: /s/ Wendi Alper-Pressman ____________       By: /s/ Thomas W. Hayde ______________
   Wendi Alper-Pressman, #32906MO                  Thomas W. Hayde, #6288227
   7701 Forsyth Blvd., Suite 500                   1 N. Brentwood Blvd., Suite 1000
   St. Louis, MO 63105                             St. Louis, MO 63105

ATTORNEYS FOR PNC BANK, N.A.                    ATTORNEYS FOR SHILOH RC, LLC
                                                SUCCESSOR BY ASSIGNMENT TO
                                                PARKSIDE FINANCIAL BANK & TRUST

BRUCKER, GRUENKE & LONG, PC                     STONEY, LEYTON & GERSHMAN

By: /s/ Terry I. Bruckert _______________       By: /s/ Robb E. Hellwig ___    ________
   Terry I. Bruckert, #6215815                     Robb E. Hellwig, #60570MO
   1002 East Wesley Dr., Suite 100                 7733 Forsyth Blvd., Suite 500
   O’Fallon, IL 62269                              St. Louis, MO 63105

ATTORNEYS FOR THE VILLAGE OF                    ATTORNEYS FOR HAVENHILLS
SHILOH, ILLINOIS, A MUNICIPAL                   INVESTMENT COMPANY, LLC;
CORPORATION LOCATED IN ST.                      MCEAGLE LAND ACQUISITIONS, LLC;
CLAIR COUNTY, ILLINOIS                          SHILOH LAND ACQUISITIONS, LLC;
                                                PAUL J. MCKEE, JR., AS TRUSTEE OF
                                                THE PAUL J. MCKEE, JR. REVOCABLE
                                                LIVING TRUST DATED SEPTEMBER 19,
                                                1990; AND PAUL J. MCKEE,
                                                INDIVIDUALLY

GREENSFELDER, HEMKER & GALE, PC

By: /s/ Cherie K. Macdonald_   ________
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   12 Wolf Creek Dr.
   Swansea, IL 62226

ATTORNEYS FOR PACE PROPERTIES,
INC.




                                        Page 7 of 11
 Exhibit A




Page 8 of 11
Page 9 of 11
Page 10 of 11
Page 11 of 11
